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 2   THE STROJNIK FIRM LLC
 3   A LIMITED LIABILITY COMPANY
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 4   2415 East Camelback Road
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 7   Attorneys for Plaintiff THERESA BROOKE
 8
                                 UNITED STATES DISTRICT COURT
 9
                           SOUTHERN DISTRICT OF CALIFORNIA
10
11   THERESA BROOKE, a married woman
     dealing with her sole and separate claim,      Case No: '18CV2537 L        WVG
12
13                         Plaintiff,               VERIFIED COMPLAINT

14
     vs.
15
16   HARBOR HOTEL ASSOCIATES, LLC, a                (JURY TRIAL DEMANDED)
     California limited liability company dba
17   Comfort Inn,
18
                           Defendant.
19
            Plaintiff alleges:
20
                                            PARTIES
21
            1.     Plaintiff Theresa Brooke is a married woman currently residing in Pinal
22
     County, Arizona. Plaintiff is and, at all times relevant hereto, has been legally disabled,
23
     confined to a wheel chair, and is therefore a member of a protected class under the
24
     ADA, 42 U.S.C. § 12102(2), the regulations implementing the ADA set forth at 28 CFR
25
     §§ 36.101 et seq., the California Unruh Civil Rights Act, California Civil Code § 51,
26
     52, and the California Disabled Persons Act. Plaintiff ambulates with the aid of a
27
     wheelchair due to the loss of a leg.
28
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 1          2.     Defendant, Harbor Hotel Associates, LLC, owns and/or operates and does
 2   business as the hotel, Comfort Inn located at 5102 North Harbor Drive, San Diego,
 3   California 92106. Defendant’s hotel is a public accommodation pursuant to 42 U.S.C. §
 4   12181(7)(A), which offers public lodging services.
 5                               JURISDICTION AND VENUE
 6          3.     Jurisdiction in this Court is proper pursuant to 28 U.S.C. §§ 1331 and 42
 7   U.S.C. § 12188. The Court has supplemental jurisdiction over the state law claims. 28
 8   U.S.C. § 1367.
 9          4.     Plaintiff’s claims asserted herein arose in this judicial district and
10   Defendant does substantial business in this judicial district.
11          5.     Venue in this judicial district is proper under 28 U.S.C. § 1391(b) and (c)
12   in that this is the judicial district in which a substantial part of the acts and omissions
13   giving rise to the claims occurred.
14                THE ADA AND ITS IMPLEMENTING REGULATIONS
15          6.     On July 26, 1990, President George H.W. Bush signed into law the ADA,
16   a comprehensive civil rights law prohibiting discrimination on the basis of disability.
17          7.     The ADA broadly protects the rights of individuals with disabilities in
18   employment, access to State and local government services, places of public
19   accommodation, transportation, and other important areas of American life.
20          8.     Title III of the ADA prohibits discrimination in the activities of places of
21   public accommodation and requires places of public accommodation to comply with
22   ADA standards and to be readily accessible, and independently usable by, individuals
23   with disabilities. 42 U.S.C. § 12181-89.
24          9.     On July 26, 1991, the Department of Justice (“DOJ”) issued rules
25   implementing Title III of the ADA, which are codified at 28 CFR Part 36.
26          10.    Appendix A of the 1991 Title III regulations (republished as Appendix D
27   to 28 CFR part 36) contains the ADA standards for Accessible Design (1991
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 1   Standards), which were based upon the Americans with Disabilities Act Accessibility
 2   Guidelines (1991 ADAAG) published by the Access Board on the same date.
 3          11.     In 1994, the Access Board began the process of updating the 1991
 4   ADAAG by establishing a committee composed of members of the design and
 5   construction industries, the building code community, and State and local governmental
 6   entities, as well as individuals with disabilities.
 7          12.     In 1999, based largely on the report and recommendations of the advisory
 8   committee, the Access Board issued a notice of proposed rulemaking to update and
 9   revise its ADA and ABA Accessibility Guidelines.
10          13.     The Access Board issued final publication of revisions to the 1991
11   ADAAG on July 23, 2004 (“2004 ADAAG”).
12          14.     On September 30, 2004, the DOJ issued an advanced notice of proposed
13   rulemaking to begin the process of adopting the 2004 ADAAG.
14          15.     On June 17, 2008, the DOJ published a notice of proposed rulemaking
15   covering Title III of the ADA.
16          16.     The long-contemplated revisions to the 1991 ADAAG culminated with
17   the DOJ’s issuance of The 2010 Standards for Accessible Design (“2010 Standards”).
18   The DOJ published the Final Rule detailing the 2010 Standards on September 15, 2010.
19   The 2010 Standards consist of the 2004 ADAAG and the requirements contained in
20   subpart D of 28 CFR part 36.1
21                       CORRESPONDING STATE LAW STATUTES
22          17.     Unruh Civil Rights Act and the California Disabled Persons Act
23   incorporate ADA standards, so a “violation of the ADA also constitutes a violation of
24   both the Unruh Act and the DPA.” Californians for Disability Rights v. Mervyn’s LLC,
25
26
27   1
       Though the Effective Date of the 2010 Standards was March 15, 2011, the deadline for
28   existing pools to comply did not become effective until January 31, 2013, at which time
     the 2010 Standards became enforceable through civil actions by private plaintiffs.

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 1   165 Cal. App. 4th 571, 586, 81 Cal. Rptr. 3d 144 (2008); Molski v. M.J. Cable, Inc., 481
 2   F.3d 724, 731 (9th Cir. 2007).
 3          18.    Unruh provides for injunctive relief, monetary damages in an amount not
 4   less than $4,000.00, and for the recovery of attorney’s fees and costs.
 5          19.    The DPA provides for monetary damages in an amount not less than
 6   $1,000.00 and for the recovery of attorney’s fees and costs.
 7                      ALLEGATIONS COMMON TO ALL COUNTS
 8      20. Plaintiff is a disabled woman that relies on a wheelchair for locomotion. Her
 9          disability is that she only has one leg. She cannot walk.
10          21.    Plaintiff has significant experience and has worked in the hotel industry
11   and through her experience has learned of the generalized lack of total and unfettered
12   access for disabled persons such as herself.
13          22.    Plaintiff and her husband are avid travelers to California. Due to
14   Plaintiff’s special needs and living in a wheelchair, she cannot have full and equal
15   access to service counters that exceed the maximum 36-inch threshold height as
16   required by the 2010 Standards.
17          23.    On or about October 30, 2018, Plaintiff was in San Diego and went to
18   Defendant’s hotel to book a room. Plaintiff approached the lobby counter at the hotel,
19   but she could not communicate with the innkeeper or have full and equal access at the
20   lobby counter because the counter is well in excess of 36 inches in height, and there
21   was no auxiliary counter that she could locate. Consequently, Plaintiff was deterred
22   from lodging at Defendant’s hotel and decided to not book a room.
23          24.    Plaintiff has personal knowledge of a barrier related to her disability, that
24   is, the lobby counter at Defendant’s hotel is inaccessible to her by virtue of her
25   confinement to a wheel chair, and is currently deterred from returning to Defendant’s
26   accommodation by this accessibility barrier. Therefore, she has suffered an injury-in-
27   fact for the purpose of her standing to bring this action. Plaintiff’s injury is a continuing
28   one because Defendant’s hotel has a barrier and Plaintiff remains deterred.


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 1          25.    Without a portion of the lobby counter being 36 inches or less in height,
 2   Plaintiff’s disability precludes her from equal treatment to able-bodied persons at
 3   Defendant’s hotel.
 4          26.    As a result of Defendant’s non-compliance with the ADA, Plaintiff did
 5   not lodge at the hotel. However, notwithstanding the barriers at issue, Plaintiff will
 6   lodge at Defendant’s hotel if Defendant removes the barriers at issue. Plaintiff makes
 7   frequent trips to San Diego, and if the barriers are removed, she will lodge at
 8   Defendant’s hotel and/or revisit the hotel to obtain access to the Defendant’s property.
 9   Plaintiff especially hopes Defendant does in fact remediate, as she wishes to diversify
10   her lodging during her visits. It is also rare for a hotel to be fully compliant with the
11   ADA, which limits Plaintiff’s choice of lodging.
12          27.    Plaintiff and other disabled persons have been injured by Defendant’s
13   discriminatory practices and failure to remove architectural barriers. These injuries
14   include being deterred from using Defendant’s hotel due to the lack of equality at the
15   lobby counter.
16          28.    Other potential violations and barriers to entry at Defendant’s hotel may
17   be discovered through an expert inspection of the hotel property pursuant to Rule 34. So
18   as to avoid piecemeal litigation to ensure full access to the entirety of the property at
19   issue, Plaintiff will amend her complaint to allege and all additional barriers discovered
20   during the Rule 34 inspection. Doran v. 7-Eleven, 524 F.3d 1034 (9th Cir. 2008).
21                               FIRST CAUSE OF ACTION
                  (Violation of Title III the Americans with Disabilities Act)
22
23          29.    Plaintiff incorporates all allegations heretofore set forth.

24          30.    Defendant has discriminated against Plaintiff and others in that it has

25   failed to make its public lodging services fully accessible to, and independently usable

26   by, individuals who are disabled in violation of 42 U.S.C. § 12182(a) and §

27   121282(b)(2)(iv) and the 2010 Standards, as described above.

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 1          31.     Defendant has discriminated against Plaintiff in that it has failed to
 2   remove architectural barriers to make its lodging services fully accessible to, and
 3   independently usable by individuals who are disabled in violation of 42 U.S.C.
 4   §12182(b)(A)(iv) and the 2010 Standards, as described above. Compliance with the
 5   requirements of the 2010 Standards would neither fundamentally alter the nature of
 6   Defendant’s lodging services nor result in an undue burden to Defendant.
 7          32.     In violation of the 2010 Standards, Defendant’s lobby counter is well in
 8   excess of 36 inches in height, making it inaccessible to persons in a wheelchairs such as
 9   Plaintiff.
10          33.     Compliance with 42 U.S.C. § 12182(b)(2)(A)(iv) and the 2010 Standards,
11   as described above, is readily achievable.
12          34.     Defendant’s conduct is ongoing, and, given that Defendant has never fully
13   complied with the ADA’s requirements that public accommodations make lodging
14   services fully accessible to, and independently usable by, disabled individuals, Plaintiff
15   invokes her statutory right to declaratory and injunctive relief, as well as costs and
16   attorneys’ fees.
17          35.     Without the requested injunctive relief, specifically including the request
18   that the Court retain jurisdiction of this matter for a period to be determined after the
19   Defendant certifies that it is fully in compliance with the mandatory requirements of the
20   ADA that are discussed above, Defendant’s non-compliance with the ADA’s
21   requirements that its lobby counter be fully accessible to, and independently useable by,
22   disabled people is likely to recur.
23          WHEREFORE, Plaintiff demands judgment against Defendant as follows:
24                a. A Declaratory Judgment that at the commencement of this action
25                  Defendant was in violation of the specific requirements of Title III of the
26                  ADA described above, and the relevant implementing regulations of the
27                  ADA, in that Defendant took no action that was reasonably calculated to
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 1               ensure that its lobby counter was fully accessible to, and independently
 2               usable by, disabled individuals;
 3            b. Irrespective of Defendants “voluntary cessation” of the ADA violation, if
 4               applicable, a permanent injunction pursuant to 42 U.S.C. § 12188(a)(2)
 5               and 28 CFR § 36.504(a) which directs Defendant to take all steps
 6               necessary to bring its lobby counter into full compliance with the
 7               requirements set forth in the ADA, and its implementing regulations, so
 8               that the lobby counter is fully accessible to, and independently usable by,
 9               disabled individuals, and which further directs that the Court shall retain
10               jurisdiction for a period to be determined after Defendant certifies that its
11               lobby counter is fully in compliance with the relevant requirements of the
12               ADA to ensure that Defendant has adopted and is following an
13               institutional policy that will in fact cause Defendant to remain fully in
14               compliance with the law;
15            c. Irrespective of Defendants “voluntary cessation” of the ADA violation, if
16               applicable, payment of costs of suit;
17            d. Irrespective of Defendants “voluntary cessation” of the ADA violation, if
18               applicable, payment of attorneys’ fees pursuant to 42 U.S.C. § 12205, 28
19               CFR § 36.505 and other principles of law and equity and in compliance
20               with the “prevailing party” and “material alteration” of the parties’
21               relationship doctrines2 in an amount no less than $3,500.00; and,
22            e. Order closure of the Defendant’s place of public accommodation until
23               Defendant has fully complied with the ADA; and
24            f. The provision of whatever other relief the Court deems just, equitable and
25               appropriate.
26                              SECOND CAUSE OF ACTION
27   2
      As applicable to ADA cases, see Coppi v. City of Dana Point, Case No. SACV 11-
28   1813 JGB (RNBx) (February, 2015)


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 1      (Violation of the California Unruh Civil Rights Act, Cal. Civ. Code §§51, 52)
 2
            36.      Plaintiff realleges all allegations heretofore set forth.
 3
            37.      Defendant has violated the Unruh by denying Plaintiff equal access to its
 4
     public accommodation on the basis of her disability as outlined above.
 5
            38.      Unruh provides for declaratory and monetary relief to “aggrieved
 6
     persons” who suffer from discrimination on the basis of their disability.
 7
            39.      Plaintiff has been damaged by the Defendant’s non-compliance with
 8
     Unruh.
 9
            40.      Pursuant to Cal Civ. Code §52, Plaintiff is further entitled to such other
10
     relief as the Court considers appropriate, including monetary damages in an amount to
11
     be proven at trial, but in no event less than $4,000.00.
12
            41.      Pursuant to Unruh, Plaintiff is entitled to attorney’s fees and costs in an
13
     amount to be proven at trial.
14
            WHEREFORE, Plaintiff demands judgment against Defendant as follows:
15
                  a. A Declaratory Judgment that at the commencement of this action
16
                     Defendant was in violation of the specific requirements of Unruh; and
17
                  b. Irrespective of Defendants “voluntary cessation” of the ADA violation, if
18
                     applicable, a permanent injunction pursuant to 42 U.S.C. § 12188(a)(2)
19
                     and 28 CFR § 36.504(a) which directs Defendant to take all steps
20
                     necessary to bring its lobby counter into full compliance with the
21
                     requirements set forth in the ADA, and its implementing regulations, so
22
                     that the lobby counter is fully accessible to, and independently usable by,
23
                     disabled individuals, and which further directs that the Court shall retain
24
                     jurisdiction for a period to be determined after Defendant certifies that its
25
                     lobby counter is fully in compliance with the relevant requirements of the
26
                     ADA to ensure that Defendant has adopted and is following an
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 1                   institutional policy that will in fact cause Defendant to remain fully in
 2                   compliance with the law;
 3                c. Irrespective of Defendants “voluntary cessation” of the ADA violation, if
 4                   applicable, payment of costs of suit;
 5                d. Irrespective of Defendants “voluntary cessation” of the ADA violation, if
 6                   applicable, payment of attorneys’ fees pursuant to 42 U.S.C. § 12205, 28
 7                   CFR § 36.505 and other principles of law and equity and in compliance
 8                   with the “prevailing party” and “material alteration” of the parties’
 9                   relationship doctrines3 in an amount no less than $3,500.00; and,
10                e. Order closure of the Defendant’s place of public accommodation until
11                   Defendant has fully complied with the ADA; and
12                f. For damages in an amount no less than $4,000.00; and
13                g. The provision of whatever other relief the Court deems just, equitable and
14                   appropriate.
15                               THIRD CAUSE OF ACTION
         (Violation of the California Disabled Persons Act, Cal. Civ. Code §§54-54.3)
16
17          42.      Plaintiff realleges all allegations heretofore set forth.
18          43.      Defendant has violated the DPA by denying Plaintiff equal access to its
19   public accommodation on the basis of her disability as outlined above.
20          44.      The DPA provides for monetary relief to “aggrieved persons” who suffer
21   from discrimination on the basis of their disability.
22          45.      Plaintiff has been damaged by the Defendant’s non-compliance with the
23   DPA.
24
25
26
27   3
      As applicable to ADA cases, see Coppi v. City of Dana Point, Case No. SACV 11-
28   1813 JGB (RNBx) (February, 2015)


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 1          46.      Pursuant to the DPA, Plaintiff is further entitled to such other relief as the
 2   Court considers appropriate, including monetary damages in an amount to be proven at
 3   trial, but in no event less than $1,000.00. Cal. Civ. Code § 54.3.
 4          47.      Pursuant to the DPA, Plaintiff is entitled to attorney’s fees and costs in an
 5   amount to be proven at trial. Cal. Civ. Code § 54.3.
 6          WHEREFORE, Plaintiff demands judgment against Defendant as follows:
 7                a. A Declaratory Judgment that at the commencement of this action
 8                   Defendant was in violation of the specific requirements of Unruh; and
 9                b. Irrespective of Defendants “voluntary cessation” of the ADA violation, if
10                   applicable, a permanent injunction pursuant to 42 U.S.C. § 12188(a)(2)
11                   and 28 CFR § 36.504(a) which directs Defendant to take all steps
12                   necessary to bring its lobby counter into full compliance with the
13                   requirements set forth in the ADA, and its implementing regulations, so
14                   that the lobby counter is fully accessible to, and independently usable by,
15                   disabled individuals, and which further directs that the Court shall retain
16                   jurisdiction for a period to be determined after Defendant certifies that its
17                   lobby counter is fully in compliance with the relevant requirements of the
18                   ADA to ensure that Defendant has adopted and is following an
19                   institutional policy that will in fact cause Defendant to remain fully in
20                   compliance with the law;
21                c. Irrespective of Defendants “voluntary cessation” of the ADA violation, if
22                   applicable, payment of costs of suit;
23                d. Irrespective of Defendants “voluntary cessation” of the ADA violation, if
24                   applicable, payment of attorneys’ fees pursuant to 42 U.S.C. § 12205, 28
25                   CFR § 36.505 and other principles of law and equity and in compliance
26
27
28


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 1                 with the “prevailing party” and “material alteration” of the parties’
 2                 relationship doctrines4 in an amount no less than $3,500.00; and,
 3             e. Order closure of the Defendant’s place of public accommodation until
 4                 Defendant has fully complied with the ADA; and
 5             f. For damages in an amount no less than $1,000.00; and
 6             g. The provision of whatever other relief the Court deems just, equitable and
 7                 appropriate.
 8                                DEMAND FOR JURY TRIAL
 9          Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby
10   demands a jury trial on issues triable by a jury.
11
12          RESPECTFULLY SUBMITTED this 4th day of November, 2018.
13
14                                              THE STROJNIK FIRM L.L.C.

15
16
17                                              Peter Kristofer Strojnik (242728)
                                                2415 East Camelback Road, Suite 700
18                                              Phoenix, Arizona 85016
19                                              Attorneys for Plaintiff

20                     VERIFICATION COMPLIANT WITH R10-3-405
21
            I declare under penalty of perjury that the foregoing is true and correct.
22
            DATED this 4th day of November, 2018.
23
24
25
26
27   4
      As applicable to ADA cases, see Coppi v. City of Dana Point, Case No. SACV 11-
28   1813 JGB (RNBx) (February, 2015)


                                               11
